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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EAST1':RN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, et al.,~ rel.
CHARLES STRUNCK, et al.,

                        Plaintiffs,

                v.                                             : Civil Action No. 12-CV-0175

MALLINCKRODT ARD LLC.
(f/k/a Mallinckrodt ARD, Inc.;
li'k/a Questcor Pharmaceuticals, Inc.),

                        Defendant.                                                     FILED
UNITED ST ATES OF AMERICA, et al.,~ rel.                                               JUL - 8 2019
SCOTT CLARK,                                                                         KATE BARKMAN, Clerk
                                                                                   By           ~.Clerk
                        Plaintiffs,

                v.
                                                               : Civil Action No. 13-CV-1776
MALLINCKRODT ARD LLC ..
(f/k/a Mallinckrodt ARD, Inc.;
f/k/a Questcor Pharmaceuticals, Inc.),

                       Defendant.



                                             ORDER

       The Government's Motion to Consolidate is hereby Granted. IT IS ORDERED that,

I.     The above-captioned cases are consolidated pursuant to Fed. R. Civ. P. 42(a)(2), with

United States ex rel. Strunck v Mallinckrodt ARD LLC, Case No. t: 12-cv-O I 75, to be designated

the lead case, and all future filings shall be submitted under that caption.
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2.     This Order shall not affect the right of any Party to assert the application of 31 U.S.C. §

3730(b)(5) or to seek a separate trial pursuant to Fed. R. Civ. P. 42(b).

3.     Although Mallinckrodt plc was named as a defendant in one of the two actions being

consolidated, it was not served and is not named as a defend ant in the United States' Complaint in

Intervention, which is now the only operative complaint in this action. Accordingly, upon the

stipulation of the parties, Mallinckrodt plc is terminated from this action.

       IT IS SO ORDERED,

       This   J>    day of July, ·2019.




                                              HONORABLE BERLE M. SCHILLER
                                              Judge, United States District Court
